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                                                                                          E-FILED
                                                     Wednesday, 23 November, 2016 10:53:41 AM
                                                                   Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                PEORIA DIVISION


Gheorghe Ciocan,                             )
                                             )
                     Plaintiff,              )
                                             )
              v.                             )         Case No. 15-1426
                                             )
Ricardo Gabriel Jiminez, individually        )
And as agent of Warren Transport, Inc.,      )
and Warrant Transport, Inc.,                 )
                                             )
                     Defendants.             )


                                          ORDER

       This matter is now before the Court on the parties’ joint Motion to Dismiss (ECF

No. 23). For the reasons set forth below, their motion is GRANTED. This matter is now

terminated.

                                       Background

       On October 26, 2015, Defendants filed their Amended Notice of Removal (ECF No.

3). On August 26, 2016, the parties settled the matter at mediation. Since that point, the

parties have executed releases and disbursed settlement money.

                                        Conclusion

  The joint motion to dismiss (ECF No. 23) is GRANTED. Each side shall be responsible

for its own costs and fees. The Clerk of Court is directed to close the case. This matter is

now terminated.

       ENTERED this 23rd day of November, 2016.

                                                  s/ Michael M. Mihm
                                                  Michael M. Mihm
                                                  United States District Judge




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